            Case 1:23-cv-06369-JGLC          Document 125         Filed 04/11/25    Page 1 of 2




                                          THE CITY OF NEW YORK
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                                                                  April 11, 2025
      VIA ECF
      The Honorable Jessica G.L. Clarke
      United States District Judge
      Southern District of New York
      500 Pearl Street
      New York, N.Y. 10007


                       Re: SeanPaul Reyes v. City of New York, 23 Civ. 6369 (JGLC)

      Your Honor:

                     I am a Senior Counsel in the office of Muriel Goode-Trufant, Corporation
      Counsel of the City of New York, representing defendant City of New York in the above
      referenced matter. We write jointly with plaintiff’s counsel to respectfully request an extension
      of time to submit a fully revised case management plan by April 18, 2025.

                      Since the last submission by the parties, defendant has served responses to
      plaintiff’s second set of interrogatories and document requests (on April 10, 2025 by agreement
      of the parties). The two depositions contemplated in the parties’ last submission of Det.
      Giovanni Cucuzza and Sgt. Tosares Korchitmet are now scheduled for April 25, 2025 and May
      1, 2025, respectively (there were scheduling issues in conducting these depositions earlier).
      Plaintiff has indicated that he will be video recording these depositions (the depositions will be
      conducted by videoconference). Defendant will be discussing with plaintiff’s counsel a
      protective order for the video recordings, and if necessary, raise that issue with the Court.
      Plaintiff has indicated that he will be seeking a “meet and confer” with respect to a document
      that the City has asserted privilege over, and will raise the issue with the Court if necessary.

                     The Court of Appeals has still not ruled on the City’s appeal of the Court’s
      preliminary injunction decision. Although the City views this as potentially problematic from
      the standpoint of the expenditure of resources (if the Court of Appeals ultimately rules on issues
      that impact the remaining issues in the case) and will request some accommodation for this in the
      revised case management plan, the parties propose to confer on a fully revised case management
      plan and submit the proposal to the Court by April 18, 2025. However, there does not appear to
      Case 1:23-cv-06369-JGLC         Document 125        Filed 04/11/25     Page 2 of 2




be a path to resolution of this case at this time without the Court of Appeals decision (and the
parties are aware that alternative dispute resolution is one of the areas to be addressed in the
Court’s case management plan).

              Thank you for your consideration herein.


                                                           Respectfully submitted,

                                                           /s/ Mark D. Zuckerman
                                                           Mark D. Zuckerman
                                                           Senior Counsel

cc:    All Counsel (via ECF)




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